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 6

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                             CASE NO. 2:18-CR-010-TLN
11                                 Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                          v.                             FINDINGS AND ORDER
13   JOSHUA SIMS et al.,                                   DATE: June 6, 2019
                                                           COURT: Hon. Troy L. Nunley
14                                Defendants.
15

16                                              STIPULATION

17          1.      This stipulation concerns one of thirteen indicted related cases, which all arise out of a

18 common investigation.

19          2.      By previous order, this matter was set for status on June 6, 2019.

20          3.      By this stipulation, the Government and counsel for the defendants in the above-

21 captioned case now move to continue the status conference to August 29, 2019, at 9:30 a.m.

22          4.      The parties also seek to exclude time between June 6, 2019, and August 29, 2019 under

23 Local Codes T2 and T4.

24          5.      The parties agree and stipulate, and request that the Court find the following:

25          a)      As of this stipulation, the Government has produced more than 10,000 pages of written

26 discovery to the defendants as a group, as well as 45 DVDs containing audio and visual surveillance

27 recordings. (Each defendant has also received a copy of his or her criminal history, if one exists, and a

28 small amount of additional written discovery has been produced to a subset of defendants.).

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 1          b)      In addition, on or around February 8, 2019, the previously court-appointed discovery-

 2 coordination attorney (the “DCA”) made wiretap discovery available to defense counsel.

 3          c)      Counsel for the above-captioned defendants again desire additional time to review the

 4 volume of discovery received in this matter. This review will enable counsel to scrupulously evaluate

 5 the evidence against their respective clients, conduct ancillary research, and consult with their respective

 6 clients on how to proceed in their cases.

 7          d)      Counsel for the defendants believe that failure to grant the above-requested continuances

 8 would deny them the reasonable time necessary for effective preparation, taking into account the

 9 exercise of due diligence.

10          e)      The government does not object to the continuances.

11          f)      Based on the above-stated findings, the ends of justice served by continuing the case as

12 requested outweigh the interest of the public and the defendant in a trial within the original date

13 prescribed by the Speedy Trial Act.

14          g)      Further, given that the discovery in this case arises from a single investigation and is

15 being produced to twenty-seven defendants in thirteen cases, the Court has previously designated the

16 matter as “complex” for the purpose of providing an exclusion of time under Local Code T2. The

17 parties submit that the foregoing stipulation provides a continued basis for such an exclusion.

18          h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

19 within which trials must commence, the time periods of June 6, 2019 to August 29, 2019, inclusive, are

20 deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because they result

21 from continuances granted by the Court at the defendants’ requests on the basis of the Court’s finding

22 that the ends of justice served by taking such action outweigh the best interest of the public and the

23 defendants in speedy trials.

24          i)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

25 within which trials must commence, the time periods of June 6, 2019, to August 29, 2019, inclusive, are

26 deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (ii) because they result from continuances

27 granted by the Court at defendants’ requests on the basis of the Court’s finding that the matters are

28 sufficiently complex that it would be unreasonable to expect adequate preparation absent the exclusions

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 1 of time.

 2          6.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the periods within which trials

 4 must commence.

 5          IT IS SO STIPULATED.

 6   Dated: June 3, 2019                                      MCGREGOR W. SCOTT
                                                              United States Attorney
 7
                                                              /s/ JUSTIN LEE
 8                                                            JUSTIN LEE
                                                              Assistant United States Attorney
 9

10
     Dated: June 3, 2019                                      /s/ DANIEL L. OLSEN
11                                                            DANIEL L. OLSEN
                                                              Counsel for Defendant James Masterson
12

13   Dated: June 3, 2019                                      /s/ CANDICE L. FIELDS
                                                              CANDICE L. FIELDS
14                                                            Counsel for Defendant Reggie Pajimola
15
     Dated: June 3, 2019                                      /s/ KYLE R. KNAPP
16                                                            KYLE R. KNAPP
                                                              Counsel for Defendant Joshua Sims
17

18

19                                          FINDINGS AND ORDER
20          IT IS SO FOUND AND ORDERED this 4th day of June 2019.

21

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23

24                                                              Troy L. Nunley
                                                                United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME               3
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